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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JOAN MARTINEZ,                                    § No. 4:14-cv-1822
                                                  §
  Plaintiff,                                      §
                                                  §
  v.                                              §
                                                  §
GC SERVICES, LP,                                  §
                                                  §
  Defendant.                                      §
                                                  §

                                 PLAINTIFF’S COMPLAINT

       JOAN MARTINEZ (Plaintiff), through her attorneys, KROHN & MOSS, LTD., alleges the

following against GC SERVICES, LP (Defendant):

                                       INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et

       seq. (FDCPA).

   2. Defendant acted through its agents, employees, officers, members, directors, heirs,

       successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                JURISDICTION AND VENUE

   3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy.”

   4. Defendant conducts business in the state of Texas, and therefore, personal jurisdiction is

       established.

   5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

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                                         PARTIES

6. Plaintiff is a natural person residing in Las Vegas, Clark County, Nevada.

7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

   Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

8. Defendant is an alleged debt collector as that term is defined by 15 U.S.C. 1692a(6), and

   sought to collect a consumer debt from Plaintiff.

9. Defendant is a national debt collection company with its main office located in Houston,

   Texas and it conducts business in Texas.

                              FACTUAL ALLEGATIONS

10. In or around March of 2014, Defendant placed collection calls to Plaintiff seeking and

   demanding payment for an alleged consumer debt.

11. Plaintiff's alleged debt arises from transactions for personal, family, and household

   purposes.

12. Defendant called Plaintiff's telephone number at 705-250-94XX.

13. In or around March of 2014, Defendant called Plaintiff and left a voicemail message. See

   transcribed voicemail message attached hereto as Exhibit A.

14. In the voicemail message, Defendant failed to disclose the name of the company placing the

   call, failed to state that the call was being placed by a debt collector, and failed to state that

   the call was being placed to collect an alleged debt. See Exhibit “A.”

15. In the voicemail message, Defendant directed Plaintiff to return the call to telephone number

   866-749-7274, which is a number that belongs to Defendant. See transcribed voicemail

   message attached hereto as Exhibit A.

16. Defendant is using false, deceptive and misleading means in connection with attempting to
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      collect a debt by not identifying the purpose of its phone calls or that they are an attempt to

      collect a debt.

                             COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

   17. Defendant violated the FDCPA based on the following:

          a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

              consequence of which is to harass, oppress, or abuse Plaintiff;

          b. Defendant violated §1692d(6) of the FDCPA by placing collection calls to Plaintiff

              without meaningful disclosure of the caller’s identity.

          c. Defendant violated § 1692e of the FDCPA by using false, deceptive or misleading

              representations or means in connection with the collection of the debt;

          d. Defendant violated § 1692e(10) of the FDCPA by using deceptive means in an

              attempt to collect a debt;

          e. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in its

              communications with Plaintiff that the communication was from a debt collector.

      WHEREFORE, Plaintiff, JOAN MARTINEZ, respectfully requests judgment be entered

against Defendant, GC SERVICES, LP, for the following:

   18. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k,

   19. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k

   20. Any other relief that this Honorable Court deems appropriate.




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                                      RESPECTFULLY SUBMITTED,

Dated: June 30, 2014                  By:/s/ Ryan S. Lee
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